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                                UNITED STATES DISTRICT COURT
 8                             CENTRAL DISTRICT OF CALIFORNIA
 9
     HCT PACKAGING INC., a New Jersey     )        CASE NO. CV13-8443-RGK (SHx)
10   corporation,                         )
11
                                          )         MEMORANDUM OF LAW IN
                                          )         SUPPORT OF MOTION TO
12                                        )         DISMISS:
13                                        )
            Plaintiff,                    )         1. FOR FAILURE TO COMPLY
14
     v.                                   )         WITH ART. 5 OF THE
15                                        )         HAGUE CONVENTION
                                          )         (20 U.S.T. 361 (1965,1969))
16
     TM INTERNATIONAL TRADING             )
17   LIMITED, a company organized in Hong )         2. FOR LACK OF PERSONAL
18
     Kong; SCENE MEDIA LIMITED, a         )         JURISDICTION
     company organized in Hong Kong;      )
19   LUCINDA JANE MCEVOY, an individual; )          3. FOR IMPROPER FORUM
20   NORBERT MIBRAN TOPOUZOGLOU, an)                SELECTION/FORUM
     individual, and DOES 1 through 10,   )         NON CONVENIENS
21   inclusive.                           )
22                                        )         4. Fed.R.Civ.P. 12(b)(6)
            Defendants.                   )         FAILURE TO STATE A CAUSE
23
                                               )    OF ACTION
24                                             )
                                               )    DATE: March 3, 2014
25                                             )    TIME: 9:00 a.m.
     __________________________________________)    DEPT: Hon. R. Gary Klausner
26

27

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                                                      DEFENDANTS’ MEMORANDUM OF LAW
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24

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26

27

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 1
                                     I. INTRODUCTION
 2
                              A. PRELIMINARY STATEMENT:
 3

 4                                1. HAGUE CONVENTION
 5         FRCP 4(h) states that foreign corporations may be served “by delivering a copy
 6
     of the summons and of the complaint to an officer . . . or any other agent authorized by
 7

 8   appointment or by law to receive service of process . . .” or in any manner prescribed
 9
     by Rule 4(f). Rule 4(f)(1) states that a foreign corporation may be served “by any
10

11
     internationally agreed-upon means of service that is reasonably calculated to give

12   notice, such as those authorized by the Hague Convention on the Service Abroad of
13
     Judicial and Extrajudicial Documents.” Convention on the Service Abroad of Judicial
14

15   and Extrajudicial Documents in Civil or Commercial Matters, Nov. 15, 1965, 20
16
     U.S.T. 361 (1969) (hereafter “Convention”). See also U.S. ex rel. Thomas v. Siemens
17
     AG, 708 F. Supp. 2d 505, 517-19 (E.D. Pa. 2010).
18

19         The Convention provides for service of foreign agents and “shall apply in all
20
     cases, in civil or commercial matters, where there is occasion to transmit a judicial or
21

22   extrajudicial document for service abroad.” See Convention, Art. 1. Both the United
23
     States and China, including Hong Kong, are signatories to the Convention, service of
24
     process must be accomplished according to the acceptable procedures set out by the
25

26   Peoples’ Republic of China and the governing authorities of Hong Kong.
27

28
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                                                           DEFENDANTS’ MEMORANDUM OF LAW
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 1         Plaintiff did not serve the defendants according to the provisions of the
 2
     Convention, violating FRCP 4(f). They used their own Hong Kong attorneys to serve
 3

 4   process. Service of process is defective.
 5                              2. PERSONAL JURISDICTION
 6
           The Court lacks personal jurisdiction over the defendants. The Complaint
 7

 8
     alleges all of the principal actors are, and the transactions occurred in Hong Kong; the

 9   contract was to be performed in Hong Kong with the products to be delivered in Hong
10
     Kong and exported to mainland China. The only connection that the parties have with
11

12   California is that the named plaintiff claims that it is a successor in interest to one of
13
     the original contracting parties, and that the contract has a forum selection provision
14

15
     that selects the courts in Los Angeles, California and the laws of California as the

16   appropriate forum and law to be applied. These provisions are buried in the
17
     "Miscellaneous" section of the contract and do not appear conspicuously anywhere
18

19   else. Both the California and U.S. Supreme Courts have rejected these types of forum
20
     selection clauses in these circumstances. Furthermore, California Code of Civil
21
     Procedure (hereafter “CCP”) CCP 410.40 requires that in order to apply, the aggregate
22

23   sum of the transaction must be "not less than" $1,000,000.00. The complaint
24
     establishes that the total sum in dispute is less than $300,000.00.
25

26         The parties may not privately compel a Court to take jurisdiction where there is
27
     no impact felt in the forum. There is no Constitutional connection between the acts,
28
                                                 -2–
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 1   events, contracts or transactions alleged with the State of California, other than the fact
 2
     that the named plaintiff, a New Jersey corporation, maintains an office here, and that
 3

 4   the "Miscellaneous" clause of the contract selects California as a forum. Notably,
 5   plaintiff also sues in tort. It was not the original contracting party at the time of the acts
 6
     complained of. Plaintiff has no standing in tort.
 7

 8         No other allegations are contained in this Complaint that would confer either
 9
     general or specific jurisdiction over the defendants. There simply is no personal
10

11
     jurisdiction over any of the defendants to invoke the jurisdiction of this Court and its

12   resources, a jury’s time and its resources in deciding a dispute occurring in a foreign
13
     land, benefiting foreign actors; where performance is due in a foreign land, and where
14

15   the goods will be sold in a foreign land.
16
           None of the defendants have any connection with the state of California. Though
17

18
     forum selection clauses may be utilized when there is a basis for a court to obtain in

19   personam jurisdiction, it is improper to hear a case where personal jurisdiction cannot
20
     be had independent and aside from the contract itself. See, i.e. 28 USC 1391(b).
21

22         3. IMPROPER FORUM SELECTION/FORUM NON CONVENIENS
23
           Although commercial parties are free to contract their rights, they may not bind
24

25
     a court to their decision to litigate in any place where the courts simply have no

26   connection to the litigation itself.
27

28
                                                  -3–
                                                               DEFENDANTS’ MEMORANDUM OF LAW
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 1         This Court is neither obligated to, nor should it accept jurisdiction over the
 2
     parties or the dispute at issue because there is no connective tissue between the subject
 3

 4   matter of the contract, its actors, the products involved, the torts alleged to have been
 5   committed, and this Court’s jurisdiction. The State of California has no interest in the
 6
     outcome of this matter. It will serve no public purpose.
 7

 8                                      B. BACKGROUND
 9
           Taking the relevant jurisdictional allegations of the Complaint to be true for
10
     testing sufficiency of service and jurisdiction, the plaintiff alleges the following:
11

12         1. That it is the successor in interest to HCT Asia LTD, DE 1 at paragraph 1.
13
     HCT Asia LTD is a Hong Kong corporation. See first paragraph of contract attached as
14

15   Ex. "A" to the Complaint.
16
           2. That HCT Asia LTD entered into a written contract with TM
17
     INTERNATIONAL TRADING LIMITED, a Hong Kong corporation. The contract
18

19   was to be performed in Hong Kong and the goods delivered in Hong Kong. DE 1, Ex.
20
     "A"
21

22         3. That a dispute arose between TM INTERNATIONAL TRADING LIMITED
23   and HCT Asia LTD with respect to this written contract.
24
           4. That other than in conclusory fashion, alleging that there are agents and alter-
25

26   egos involved, all of the parties in this case are located in Hong Kong, and the
27
     performance of the contract was to take place in Hong Kong.
28
                                                 -4–
                                                              DEFENDANTS’ MEMORANDUM OF LAW
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 1         5. The rest of the Complaint fails to allege sufficient ultimate facts which
 2
     plausibly set forth a cause of action, thereby subjecting the Complaint to dismissal
 3

 4   pursuant to FRCP 12(b)(6). See In re Century Aluminum Co. Securities Litigation, 704
 5   F.3d 1119 (9th Cir. 2013)(indirect tracing methods are insufficient to meet heightened
 6
     pleading requirement under 12(b)(6) heightened pleading standards). See also Bell
 7

 8   Atlantic Corp. v. Twombly, 550 U.S. 544 (2007), and Ashcroft v. Iqbal, 556 U.S. 662
 9
     (2009). The Complaint is based on speculation and “information and belief,” especially
10

11
     as to the non-contracting defendants (see paragraphs 4, 5 and 6 of the complaint).

12         The Complaint fails to set forth any plausible jurisdiction over the defendants
13
     pursuant to CCP 410.40 as it is not for "not less than" $1,000,000. Other than the
14

15   plaintiff who is not an original party to the contract, every witness, transaction and
16
     event occurred in Hong Kong between persons and corporations doing business there,
17

18
     and performance was to be there as well.

19                                         II. FACTS
20
           Plaintiff filed suit on November 14, 2013. Plaintiff had its Hong Kong law firm
21

22   directly serve the Summonses and copies of the Complaint on the various defendants.
23   See DE 15, 16, 17, and 18. The defendants were not served according to the
24
     Convention nor 9th Circuit Court of Appeals precedent. The Summonses weren’t
25

26   served under the control of this Court pursuant to Article 10(a) of the Hague
27
     Convention.
28
                                                -5–
                                                           DEFENDANTS’ MEMORANDUM OF LAW
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 1         As the Complaint alleges, none of the defendants are residents of the United
 2
     States or the State of California. They all either reside in Australia, England or China
 3

 4   and conduct business in Hong Kong. Defendants Topouzoglou and McEvoy have not
 5   consented to personal jurisdiction over them in California. Scene Media Limited, is a
 6
     corporation organized and conducting business under the laws of Hong Kong, Peoples’
 7

 8   Republic of China. It has never consented to jurisdiction over it in California. TM
 9
     International Trading Limited is a corporation organized and conducting business
10

11
     under the laws of Hong Kong, Peoples’ Republic of China.

12         The contract which is alleged to have been breached designates as the place of
13
     performance of the contract Hong Kong, with products to be shipped to mainland
14

15   China and other markets in Asia and Australia. Therefore no part of the performance
16
     emanates from or is due in California.
17

18
           The plaintiff alleges that it is the successor in interest to HCT Asia Limited, a

19   corporation organized and conducting business under the laws of Hong Kong, Peoples’
20
     Republic of China; its headquarters is located in the State of New Jersey, contrary to
21

22   the allegations of the Complaint.
23
                                      III. ARGUMENT
24                                1. HAGUE CONVENTION
25
           FRCP 4(f)(1), permits service outside the United States "by any internationally
26

27   agreed means of service that is reasonably calculated to give notice, such as those
28
                                               -6–
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 1   authorized by the Convention." Subject to enumerated restrictions, Rule 4(f)(2) permits
 2
     alternative service "if there is no internationally agreed means, or if an international
 3

 4   agreement allows but does not specify other means, by a method that is reasonably
 5   calculated to give notice." Finally, Rule 4(f)(3) provides that service on a foreign
 6
     litigant can be effected "by other means not prohibited by international agreement, as
 7

 8   the court orders." As a general matter, "`[t]he only limitations on Rule 4(f)(3) are that
 9
     the means of service must be directed by the court and must not be prohibited by
10

11
     international agreement.'"Advanced Aerofoil Techs., AG v. Todaro, No. 11 Civ. 9505

12   (ALC) (DCF), 2012 WL 299959, at *1 (S.D.N.Y. Jan. 31, 2012) (quoting Ehrenfeld v.
13
     Salim a bin Mahfouz, No. 04 Civ. 9641 (RCC), 2005 WL 696769, at *2 (S.D.N.Y.
14

15   Mar. 23, 2005)); Siemens, supra.
16
           Under the Convention, plaintiff’s request for service of process must be
17

18
     forwarded to the agency designated by the Netherlands as the Central Authority to

19   accept such requests. Id. at Arts. 2, 3. The request must conform to the model
20
     contained in the Convention, and must include copies of the documents to be served.
21

22   Id. at Art. 3. With respect to service of process on residents and citizens of Hong
23
     Kong, the Convention is clear. The party to whom the complaint must initially be
24
     delivered before it may be served is the Chief Secretary for Administration, Hong
25

26   Kong Special Administrative Region Government.
27

28
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 1         If the Central Authority of Hong Kong, “considers that the request does not
 2
     comply with the provisions of the present Convention[,] it shall promptly inform the
 3

 4   applicant and specify its objections to the request.” Id. at Art. 4. Otherwise, the Central
 5   Authority must serve the documents or must arrange to have them served by an
 6
     appropriate agency “by a method prescribed by its internal law for the service of such
 7

 8   documents in domestic actions upon persons who are in its territory” or “by a
 9
     particular method requested by the applicant, unless such a method is incompatible
10

11
     with the law of the State addressed.” Id. at Art. 5.

12         The Special Administration of Hong Kong, through the Peoples Republic of
13
     China, has adopted Article 5 as a means of service.
14

15         Both the United States and China are signatories to the Convention, and it
16
     governs service of process in this case. See, e.g., Pac. Worldwide, Inc. v. Ample Bright
17

18
     Dev., Ltd., No. 11 Civ. 107 (LTS) (HBP), 2011 WL 6224599, at *2 (S.D.N.Y. Dec. 14,

19   2011); see also Volkswagenwerk Aktiengesellschaft v. Schlunk, 486 US 694, 699, 705
20
     (1988) (dictum) ("Compliance with the Convention is mandatory in all cases to which
21

22   it applies ..."); Convention Art. 1 ("The present Convention shall apply in all cases, in
23
     civil or commercial matters, where there is occasion to transmit a judicial or
24
     extrajudicial document for service abroad."); FRCP 4 advisory committee's note ("Use
25

26   of the Convention procedures, when available, is mandatory if documents must be
27
     transmitted abroad to effect service."). The Convention requires signatory countries to
28
                                                 -8–
                                                             DEFENDANTS’ MEMORANDUM OF LAW
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 1   establish a Central Authority to receive requests for service of documents from other
 2
     countries and to serve those documents. See Convention Arts. 2-6. In addition, Article
 3

 4   10 allows for service by other means, such as service "by postal channels" or through
 5   judicial officers, "[p]rovided the State of destination does not object." Id. Art. 10; see
 6
     Burda Media, Inc.v. Viertel, 417 F.3d 292 at 300 (listing "several alternate methods of
 7

 8   service" under the Convention). However these “alternative methods” are subject to
 9
     control by the Court issuing the process, not by the parties and specifically not by
10

11
     counsel for the plaintiff.

12         The Ninth Circuit Court of Appeals has held that to effect alternative service by
13
     mail, the service of process must be effected by the Clerk of the Court. Any service by
14

15   mail in this case is required to be performed in accordance with the requirements of
16
     Rule 4(f). Service by international mail is affirmatively authorized by Rule
17

18
     4(f)(2)(C)(ii), which requires that service be sent by the clerk of the court, using a

19   form of mail requiring a signed receipt. Service by international mail is also
20
     affirmatively authorized by Rule 4(f)(3), which requires that the mailing procedure
21

22   have been specifically directed by this Court. Service by international mail is not
23
     otherwise affirmatively authorized by Rule 4(f). Plaintiff neither followed the
24
     procedure prescribed in Rule 4(f)(2)(C)(ii) nor sought the approval of the this Court
25

26   under Rule 4(f)(3). See Brockmeyer v May, 383 F.3d 798 (9th Cir. 2003).
27

28
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                                                            DEFENDANTS’ MEMORANDUM OF LAW
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 1         Service of process was not effected pursuant to the Central Authority in Hong
 2
     Kong, nor was it properly effected by mail since it was served by a law clerk employed
 3

 4   by a local law firm which represents the plaintiff and related corporations in Hong
 5   Kong. See returns of service. DE 15, 16, 17 and 18. The plaintiff ignored the strictures
 6
     of Brockmeyer , supra and Rule 4(f).
 7

 8                       2. LACK OF PERSONAL JURISDICTION
 9
           In all cases involving foreign defendants, the initial burden is on the plaintiff to
10
     establish personal jurisdiction over each defendant. If the plaintiff provides sufficient
11

12   evidence, then the burden shifts to the defendant(s). There are two types of personal
13
     jurisdiction: (1) general jurisdiction and (2) specific jurisdiction. Plaintiff alleges
14

15   specific jurisdiction in their Complaint and does not allege general jurisdiction. Even
16
     the “specific jurisdiction” argument is suspect because the choice of forum provision is
17
     buried in a clause marked “Miscellaneous.” Such provisions, especially when buried
18

19   inside an inapplicable clause, are ignored by courts. See Tandy Computer Leasing v.
20
     Terina’s Pizza, 784 P.2d 7 (Nev. 1989); and under English law, Barclays Bank plc v.
21

22   Petromiralles 3, SL [2008] EWHC 2512 (Comm)(England, Westminster High Court,
23   Commercial Dept. -- If seeking to rely on the jurisdiction clause, the parties must
24
     ensure that attention is drawn to the clause and choice of jurisdiction).
25

26

27

28
                                               - 10 –
                                                            DEFENDANTS’ MEMORANDUM OF LAW
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 1

 2
                              THE INDIVIDUAL DEFENDANTS
 3

 4         There is no allegation that the individual defendants could have ever expected to
 5
     be hailed into Court in the United States. They have no contacts with the United States
 6

 7
     and there has been no impact due to personal activities in the United States. None of

 8   them are residents of the United States, they are all foreign nationals working in Hong
 9
     Kong. All of the activities occurred in Hong Kong and the contract required
10

11   performance in Hong Kong. There is no general jurisdiction over these individual
12
     defendants. There is no allegation that anything these individuals did impacted the
13

14
     United States or California. There are no allegations even attempting to assert

15   minimum contacts. See declarations attached to the motion to dismiss.
16
                       (1) Long Arm Jurisdiction – General Jurisdiction
17

18         For this Court to assert jurisdiction the Court must determine whether it can
19
     expose the individual defendants to the Court’s coercive power. Therefore any
20
     decision in this respect is subject to review for compatibility with the Amendment’s
21

22   Due Process Clause. International Shoe v Washington, 326 US 310, 316 (1945);
23
     Schaeffer v Heitner, 433 U.S. 186 (1977). The only way to determine this issue is to
24

25   examine whether or not the individual defendants had regular and continuing minimum

26   contacts within this jurisdiction. International Shoe, supra.
27

28
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 1         There are no allegations of minimum contacts other than an allegation of
 2
     “agency,” which is insufficient to confer personal jurisdiction over the individual
 3

 4   defendants. Since none of the activities complained of occurred in the United States, or
 5   California, there are no regular and systematic contacts in the United States.
 6
           The only other alternative is “impact.” That is, that the individual defendants’
 7

 8   activities somehow were “aimed at” or caused a harm or impacted California. See
 9
     Calder v Jones, 465 U.S. 783 (1984); Asahi Metal Indus. v. Superior Court, 480 U.S.
10

11
     102 (1987). No such allegations are present to establish either general activities inside

12   of or having any significant impact on California or its residents, or any connection
13
     whatsoever between California and the individual defendants. This is a simple dispute
14

15   between foreign actors over a foreign-made contract to be performed in a foreign land.
16
                                    (2) Specific Jurisdiction
17
           Plaintiff alleges that that TM International Trading Limited entered into a
18

19   contract with a buried forum selection clause in its Miscellaneous provisions. There is
20
     no mention that the individual signers of the contract or the agents and employees of
21

22   TM International Trading Limited ever agreed to be hailed into this Court or any court
23   in California. No agencies were to be created under this clause.
24
           In Burger King v. Rudzewics, 471 U.S. 462 (1985), the court held that specific
25

26   jurisdiction is dependent on whether the named defendant, "purposefully directed" his
27
     [/her] activities at residents of the forum, Keeton v. Hustler Magazine, Inc., 465 U.S.
28
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                                                            DEFENDANTS’ MEMORANDUM OF LAW
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 1   770, 774, 104 S.Ct. 1473, 1478, 79 L.Ed.2d 790 (1984), and the litigation results from
 2
     alleged injuries that "arise out of or relate to" those activities, Helicopteros Nacionales
 3

 4   de Colombia, S.A. v. Hall, 466 U.S. 408, 414, 104 S.Ct. 1868, 1872, 80 L.Ed.2d 404
 5   (1984).” There is no such allegation here.
 6
           Unlike Burger King, supra, the individual defendants did not reach out beyond
 7

 8   Hong Kong to the United States. There were no regular or systematic contacts such as
 9
     a continuing franchise agreement requiring performance in California. Any “impact”
10

11
     felt by the plaintiff as a successor in interest was indirect and minimal. But for the

12   buried forum selection clause in the Miscellaneous provisions of the contract, plaintiff
13
     would have no basis whatsoever to bring suit in the United States much less California.
14

15       (3). California Law Disfavors Jurisdiction over the Individual Defendants
16
           Under California law, if the nonresident defendant does not have substantial and
17
     systematic contacts in the forum sufficient to establish general jurisdiction, he or she
18

19   still may be subject to the specific jurisdiction of the forum, if the defendant has
20
     purposefully availed himself or herself of forum benefits and the "controversy is
21

22   related to or 'arises out of' a defendant's contacts with the forum.” Vons Companies,
23   Inc. v Seabest Foods, Inc. (1996) 14 Cal.4th 434.     It is the latter form of jurisdiction
24
     plaintiff alleges against the individual defendants by asserting that because the
25

26   individuals are allegedly agents of the corporate defendant, the individuals may be held
27
     to personally respond based on the forum selection clause in the contract. This is
28
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 1   insufficient in this case. There is no specific factual allegation in the Complaint that
 2
     indicates that the individual defendants committed any act, or had any contacts with
 3

 4   California at all. In fact the allegations simply allege that the parties to the contract
 5   negotiated their contract in Hong Kong, were to perform it in Hong Kong, and were to
 6
     deliver products in Hong Kong. There is no jurisdiction over the individuals. See
 7

 8   declarations attached to the motion to dismiss.
 9
                                   SCENE MEDIA LIMITED
10
           Scene Media adopts the arguments applicable to the individual defendants, and
11

12   further states that it is not a party to any agreement executed by and between anybody.
13
     It did not take part in any negotiations with the parties to the agreement in question in
14

15   California. It could not breach any agreement that it is not a party to. It is a corporation
16
     existing in Hong Kong, and does not conduct business in California.
17
           Not one argument can be advanced here, despite the assertion of alter-ego,
18

19   without a single supporting factual allegations, that Scene Media committed any
20
     breach of any contract, much less committed any tortious act in California.
21

22         3. IMPROPER FORUM SELECTION/FORUM NON CONVENIENS
23                        (a). Scene Media and Individual Defendants.
24
           With respect to Scene Media and the Individual defendants the selection of this
25

26   Court as a forum to litigate grievances was unwarranted. In Asahi Metal Indus. v.
27
     Superior Court, 480 U.S. 102 (1987), the Supreme Court made it clear that the mere
28
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 1   awareness that a product may reach a remote jurisdiction when in the stream of
 2
     commerce is insufficient to satisfy the requirement for “minimum contacts” under the
 3

 4   Due Process Clause. "Minimum Contacts" between the defendant and the forum State
 5   must be such that the exercise of jurisdiction "does not offend traditional notions of
 6
     fair play and substantial justice." International Shoe Co. v. Washington, 326 U.S. 310,
 7

 8   316 (1945), quoting Milliken v. Meyer, 311 U.S. 457, 463 (1940). Minimum contacts
 9
     have to be substantial and continuing and be related to the subject matter of the
10

11
     lawsuit. Asahi controls. Personal jurisdiction is lacking here.

12         The Supreme Court reached this conclusion after careful analysis:
13
            (i). Asahi did not do business in California. It had no office, agents, employees,
14
     or property in California. It did not advertise or otherwise solicit business in California.
15   This is the same as in the instant case.
16
            (ii). There was no evidence that Asahi designed its product in anticipation of
17   sales in California. The same is true here.
18
            (iii). With respect to Asahi all of the parties were not residents of California. The
19   only argument that could be made was that Asahi’s products could find their way into
20   California. Here, none of the parties are residents of California, including the plaintiff's
     predecessor-in-interest (the original contracting party), and there is no argument that
21   the products could find their way to California.
22
           (iv). On the basis of these facts, the exertion of personal jurisdiction over Asahi
23
     by the Superior Court of California was held to exceed the limits of due process.
24
           In this case, the plaintiff is a New Jersey corporation. Though it alleges its
25

26   headquarters are in Santa Monica, California, it advertises on the Worldwide Web that
27
     its corporate headquarters are located at 721 Route 202/206, Bridgewater, NJ 08807,
28
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 1   and it has registered its principal place of business at that same address with the
 2
     Secretary of State of California. See Composite Exhibit “1” hereto.
 3

 4         *All of the defendants are located in Hong Kong.
           *All of the transactions alleged occurred in Hong Kong.
 5         *All of the witnesses are in Hong Kong.
 6         *All of the performance due under the Contract was to be performed in Hong
           Kong; and
 7
           *All of the products were to be ultimately sold in mainland China or other parts
 8         of Asia and Australia. It is not even reasonable to assert - and no such assertion
           is alleged - that those products (retail cosmetics) would "find their way" to
 9
           California.
10

11
           The Asahi case also said a court must consider the burden on the defendant, the

12   interests of the forum State, the plaintiff's interest in obtaining relief, "the interstate
13
     judicial system's interest in obtaining the most efficient resolution of controversies;
14

15   and the shared interest of the several States in furthering fundamental substantive
16
     social policies."
17

18
           The Supreme Court stated in Asahi at 114:

19         “Certainly the burden on the defendant in this case is severe. Asahi has been
20         commanded by the Supreme Court of California not only to traverse the distance
           between Asahi's headquarters in Japan and the Superior Court of California in
21         and for the County of Solano, but also to submit its dispute with Cheng Shin to a
22         foreign nation's judicial system. The unique burdens placed upon one who must
           defend oneself in a foreign legal system should have significant weight in
23
           assessing the reasonableness of stretching the long arm of personal jurisdiction
24         over national borders.
25
           When minimum contacts have been established, often the interests of the
26         plaintiff and the forum in the exercise of jurisdiction will justify even the serious
27
           burdens placed on the alien defendant. In the present case, however, the interests
           of the plaintiff and the forum in California's assertion of jurisdiction over Asahi
28
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 1         are slight. All that remains is a claim for indemnification asserted by Cheng
 2
           Shin, a Taiwanese corporation, against Asahi. The transaction on which the
           indemnification claim is based took place in Taiwan; Asahi's components were
 3         shipped from Japan to Taiwan. Cheng Shin has not demonstrated that it is more
 4         convenient for it to litigate its indemnification claim against Asahi in California,
           rather than in Taiwan or Japan.
 5

 6         Because the plaintiff is not a California resident, California's legitimate interests
           in the dispute have considerably diminished.”
 7

 8         Plaintiff in this case is a New Jersey corporation that has its official
 9
     headquarters in New Jersey. Plaintiff is not one of the original contracting parties in
10

11
     this dispute. There is not even an allegation of minimum contacts as in Asahi. This

12   case, absent the buried forum selection clause in the TM contract (Exhibit “A” to the
13
     Complaint), has even less basis for jurisdiction than Asahi. There is no jurisdiction
14

15   over the individuals or Scene. This case is the very definition of forum non
16
     conveniens.
17

18
                                 (b). TM International Limited

19         TM International Limited presents a thornier issue. There is a forum selection
20
     clause buried in the Miscellaneous provision. But see Tandy Computer and Barclays
21

22   Bank plc, supra (boilerplate clauses are ignored). California has a presumption that
23   choice of forum clauses are enforceable, and the party opposing the forum bears the
24
     initial burden of establishing that the agreement was not negotiated at arms’ length.
25

26   Smith, Valentino & Smith v. Superior Court (1976) 17 Cal. 3d 491. However, the same
27
     Court that delivered Smith, supra, has questioned some forum selection clauses when
28
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 1   confronted with tort issues. See Stangvik v. Shiley, (1991) 54 Cal.3d 744. And in this
 2
     case, the selection of forum is limited by CCP 410.40 (and as to Scene Media and the
 3

 4   individual defendants, they never agreed at arms’ length to the forum selection clause).
 5   Much like Asahi and Stangvik, supra, the same factors appear here. There is no
 6
     connection whatsoever with California and there is a possibility that a court in Hong
 7

 8   Kong would refuse to recognize the judgment of this Court. China has no reciprocal
 9
     agreement to recognize judgments from the United States. There is no reason for this
10

11
     Court to burden itself with litigating a completely foreign dispute. Asahi and Stangvik,

12   supra. The mere existence of the boilerplate forum selection clause, under these
13
     circumstances, should not impose unrealistic burdens on the defendants.
14

15                                  (c) All of the Defendants
16
           The Complaint at issue here seeks damages for less than one million dollars. DE
17
     1 and Exhibit “A” attached thereto. The contract is allegedly made and to be enforced
18

19   under the laws of the State of California. At the time this matter was filed, California
20
     had a strict legislative policy (and still does) of limiting foreign lawsuits to "not less
21

22   than" one million dollars. In other words, unless the relief sought plausibly exceeds
23   one million dollars, it cannot be sustained. See Twombley and Iqbal, supra.
24
           The plaintiff alleges that the parties designated California law as the governing
25

26   law of their contract. CCP 410.40 limits actions like this one:
27

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 1         “Any person may maintain an action or proceeding in a court of this state
 2
           against a foreign corporation or nonresident person where the action or
           proceeding arises out of or relates to any contract, agreement, or undertaking for
 3         which a choice of California law has been made in whole or in part by the
 4         parties thereto and which (a) is a contract, agreement, or undertaking, contingent
           or otherwise, relating to a transaction involving in the aggregate not less than
 5         one million dollars ($1,000,000), and (b) contains a provision or provisions
 6         under which the foreign corporation or nonresident agrees to submit to the
           jurisdiction of the courts of this state.
 7

 8                This section applies to contracts, agreements, and undertakings entered
           into before, on, or after its effective date; it shall be fully retroactive. Contracts,
 9
           agreements, and undertakings selecting California law entered into before the
10         effective date of this section shall be valid, enforceable, and effective as if this
11
           section had been in effect on the date they were entered into; and actions and
           proceedings commencing in a court of this state before the effective date of this
12         section may be maintained as if this section were in effect on the date they were
13         commenced.”
14
           The contract at issue in this case does not have any subject matter that exceeds
15
     the aggregate of one million dollars. And though the plaintiff may have a place of
16

17   business in California, it is not headquartered here. See Credit Lyonnais Bank
18
     Nederland v Manatt, Phelps (1988) 202 Cal.App.3d 1424, 249 Cal. Rptr. 559.
19

20   (Applying the 1986 version of the statute).
21         Plaintiff cannot plausibly make out a prima facie case of jurisdiction in
22
     California or this Court based upon the strictures of their own contract.
23

24

25

26

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 1

 2                                       CONCLUSION
 3         For all of the foregoing reasons, the plaintiff's complaint should be dismissed.
 4
     There is simply no way that any set of facts could ever be alleged making this matter
 5

 6   jurisdictionally proper in the United States and the Central District of California.
 7

 8

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 8                                                 Randall L. Leshin, Esq.
 9
                                              By:__/s/ Richard G. Elie_______
10                                                 Richard G. Elie, Esq.
11

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   1	                                 PROOF OF SERVICE
   2
              I am employed in the county of Broward, State of Florida. I am over the age of
        18 and not a party to the within action; my business address is: 712 E. McNab Rd.,
   4
        Pompano Beach, FL 33060

   5        On January 10, 2014, I served the foregoing document(s) described as:
   6	   DEFENDANTS' MEMORANDUM OF LAW IN SUPPORT OF MOTION TO 

        DISMISS on the interested parties in this action: 

   7

   8	   Garcia Sullivan and Lopez LLP 

        695 Town Center Drive, Suite 700, 

   9	
        Costa Mesa, CA 92626 

  10    Tel: (714) 382-7001 

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        Email: ngarciaguillen@garciasullivanlopez.com
  12    TABITHA RAINEY SULLIVAN, Cal. State Bar No. 223397
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  15    Attorney for Plaintiff
  16
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        court at w os direction the service was made.
  26

  27
                                               Dated: January 10,2014.
  28
                                                 - 22­
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